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 Attorneys for Plaintiffs


 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 AMY MOORE, MIA LYTELL, NATASHA
 TAGAI, EMMA HOPPER, BRITTANY                                  Case No.: 1:17-cv-06404-BMC
 HASSEN and BRITTANY REYES,

                                 Plaintiffs,                   DECLARATION OF JOHN G.
                                                               BALESTRIERE IN FURTHER
                  – against –                                  SUPPORT OF PLAINTIFFS’
                                                               MOTION FOR ATTORNEY’S
 HOWARD RUBIN,                                                 FEES AND REIMBURSEMENT
                                                               OF COSTS
                                 Defendant.




           I, John G. Balestriere, an attorney duly admitted to practice law in the Eastern District of

 New York, of legal age and under penalty of perjury, pursuant to 28 U.S.C. § 1746, declare the

 following:

      1.          I am an attorney at the law firm Balestriere Fariello (the “Firm,” or “Plaintiffs’

 Counsel”). We represent Plaintiffs Amy Moore (“Moore”), Mia Lytell (“Lytell”), Natasha Tagai

 (“Tagai”), Emma Hopper (“Hopper”), Brittany Hassen (“Hassen”), and Brittany Reyes (“Reyes”)

 (collectively, “Plaintiffs”) in the above-referenced action against Defendant Howard Rubin
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 (“Rubin”).

       2.            I submit this declaration in further support of Plaintiffs’ Motion for Attorney’s

 Fees and Reimbursement of Costs.


                                    Plaintiffs’ Counsel’s Experience

       3.        In addition to what has already previously provided regarding Balestriere’s

 experience, Balestriere has litigated arbitrations before the American Arbitration Association,

 JAMS, and the International Chamber of Commerce, appeals in the First, Second, and Third

 Departments, appeals before the First, Second, and Ninth Circuits, and appeals in the New Jersey

 and Connecticut Supreme Courts.

       4.        Consistent with the Firm’s practices, other attorneys, non-attorney legal analysts,

 and law student/legal apprentices performed work on an as needed basis, stepping in at times for

 depositions, document review, editing of papers, or trial preparation.

       5.        All non-attorney legal analysts’ work on the matter included assisting with motion

 preparation and filing, assisting at court appearances, compiling and organization of all

 documents, assisting in managing client relationships, maintaining the court file, maintaining

 necessary calendaring, coordinating with third parties (including during discovery), and providing

 support at trial.



       6.        All legal apprentices’ work on the matter included conducting legal research,

 drafting motions, supporting documents, letters, and memoranda, assisting in managing client

 relationships, providing support at trial and as otherwise needed to Firm attorneys.

       7.        All attorneys’ work the matter included drafting legal documents, supporting

 documents, letters, arguing in Court conferences and at trial, preparing for hearings and trial,

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 corresponding with adversary counsel, defending and taking depositions, overseeing discovery,

 and overseeing the work of legal apprentices and non-attorney analysts.

      8.        Due to the small size of the Firm, operations professionals, including an

 Operations Manager and/or Chief of Staff, at times work on matters when additional assistance

 is necessary to accomplish litigation tasks. The work performed by these professionals is billed

 to a matter if it is billable work consistent with the work performed by non-attorney analysts and

 legal apprentices.

      9.        Sohpia Berg was a non-attorney legal analyst at the Firm from around August 2020

 to June 2021. She was a graduate of Harvard University, with an undergraduate degree in

 Psychology.

      10.       Andrew Bershtein was an associate attorney at the Firm from May 2019 to

 November 2019. Mr. Bershtein obtained his Juris Doctor degree from Brooklyn Law School in

 2016. Prior to starting at the Firm, Mr. Bershtein was a First-Year Associate at Sperber Denenberg

 & Kahan, P.C., then of-counsel and later Partner at Czik Law PLLC.

     11.        Karen Bubelnik was a non-attorney legal analyst at the Firm from May 2014 to

 March 2020. Bubelnik received her Bachelor’s degree from Stony Brook University, and went

 on to pursue a Certificate in Paralegal Studies from Nassau Community College in 2013. She had

 been a non-attorney analyst at the Firm for more than three years prior to the initiation of this

 action.

     12.        Maya Cohen was an associate attorney at the Firm from September 2020 to May

 2021. As a Juris Doctor candidate from Georgetown Law School, Cohen had interned at the

 United Nations, and upon graduation was a Legal Fellow at the Department of Health and Human

 Services, Office of Global Affairs.


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     13.        Erin Cole was a legal apprentice at the Firm during the summer of 2018. Cole had

 completed her second year of law school at New York Law School prior to starting at the Firm.

 Her undergraduate degree was from the University of California Los Angeles. Cole had been a

 legal assistant at the Law Offices of Kenneth E. Belkin the previous summer.

     14.        Vittoria Fariello is a partner at the Firm. Prior to joining Balestriere Fariello, Ms.

 Fariello worked as an Investigative Attorney in the New York City Buildings Special

 Investigation Unit (a joint initiative of the City’s Departments of Investigation and Buildings).

 There she worked with investigators and analysts to conduct a variety of investigations into

 professional misconduct and official corruption matters and litigated and tried cases based on

 those investigations. During her education at Benjamin N. Cardozo School of Law, Ms. Fariello

 worked for the Chief Prosecutor in Milan, Italy; for the Immigration Unit of the Legal Aid

 Society; for the ambassador of the Arab League to the United Nations in a series of diplomatic

 projects; and for an attorney at the international firm Spector and Feldman, LLP.

     15.        David Forrest started at the Firm as legal apprentice in the summer of 2017, after

 completing his second year at Cardozo School of Law. Upon his graduation in 2018, Forrest

 returned to the Firm as a first-year associate attorney. Forrest worked at the Firm until November

 2019.

     16.        Peter Garnett was an attorney at the Firm from January 2019 to September 2020.

 Prior to starting at the Firm, Garnett served as the Principal Law Clerk to the Honorable Alan J.

 Meyer (Acting Justice of the Supreme Court), Criminal Court of the City of New York for more

 than three years. Prior to that, Garnett was of-counsel to the firm Riconda & Garnett LLP, and an

 Associate in the Litigation Department at Schulte Roth & Zabel LLP. Garnett received his Juris

 Doctor degree from Syracuse University College of Law in 2009, and his bachelor’s degree from


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 George Washington University.

     17.        Nathan Gibbs was a non-attorney legal analyst at the Firm from June 2017 until

 June 2019. Gibbs was a graduate of Columbia University with a bachelor’s degree in political

 science.

     18.        Rebecca Gonzalez is an associate attorney at the Firm. Ms. Gonzalez began

 working at the Firm in September 2023. She is an admitted member of the State Bar of California

 and passed the New York Bar Examination in February 2024. Ms. Gonzalez obtained her Juris

 Doctor from the University of San Francisco School of Law and undergraduate degree from the

 University of California Davis.

     19.        Kotryna Jukenviciute was an operations professional at the Firm from January

 2021 to September 2021. Prior to working at the Firm, Ms. Jukenviciute was a Consultant in the

 National Security Sector at the U.S. Department of State. Ms. Jukenviciute has a master’s degree

 from Georgetown University.

     20.        Charles Hecht was of-counsel at the Firm from early 2020 until May 2021. Hecht

 has been a member of the New York State Bar since 1965.

     21.        Erin Kerrane was a non-attorney legal analyst at the Firm from April 2019 to May

 2021. She was a certified paralegal, with an undergraduate degree from the University of

 Scranton. Ms. Kerrane was a paralegal at Solomon & DeCapua for one year before starting at the

 Firm.

     22.        Amy Kahn was a non-attorney legal analyst at the Firm beginning in October 2021.

 Ms. Kahn has a bachelor’s degree from Lehman College. She worked for Willkie Farr &

 Gallagher LLP as an Analyst prior to starting at the Firm.




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     23.         Non-attorney legal analyst Jin Lee worked at the Firm from September 2016 to

 December 2018. Prior to starting at the Firm, Jin Lee obtained her undergraduate degree from

 Smith College. Lee gained experience as an Office Assistant at the Center for Public

 Representation. She worked as a Legal Analyst position at the Firm, where she worked for more

 than 2 years.

     24.         Timothy Lupinek was an associate attorney at the Firm from September 2019 until

 July 2020. Prior to joining Balestriere Fariello, Mr. Lupinek was associated with San Francisco-

 based firm Akay Law, had five years of litigation experience as an attorney, and was a licensed

 mediator. He received his Juris Doctor degree from the University of Baltimore School of Law.

     25.         Daniel McGillycuddy was of-counsel at the Firm beginning in November 2019. In

 this action, Mr. McGillycuddy attended a court conference to advise Plaintiffs’ Counsel, assisted

 drafting motions in limine, and advised associates in trial preparation.

     26.         Megan McKenzie was an associate attorney at the Firm from November 2019 to

 August 2020. A graduate of Georgetown University Law Center, Ms. McKenzie had an

 undergraduate degree from Harvard University. She was a law clerk for a year prior to starting at

 the Firm.

     27.         Haroon Mian was a legal apprentice at the Firm in the summer of 2018. Mian was

 entering his third year at Cardozo School of Law.

     28.         Mandeep Minhas was an associate attorney at the Firm from August 2020 until

 2022. Mr. Minhas had a master’s degree from Columbia University, and a Juris Doctor degree

 from Boston College Law School.

     29.         Marc Natale was an operations professional at the Firm from June 2008 to

 December 2021. Prior to joining the Firm, Mr. Natale worked as Trial Preparation Assistant at


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 the New York County’s District Attorney’s Office. Mr. Natale has a master’s degree in business

 administration.

     30.         Alexis Pudvan is a non-attorney legal analyst. Ms. Pudvan started at the Firm in

 February 2024. She has an undergraduate degree from the University of Oklahoma.

     31.         Joseph Pugliese was a legal apprentice during the summer of 2019, while he was

 a student at Brooklyn Law School. Mr. Pugliese had a paralegal certificate as well.

     32.         Sophie Saydah was a non-attorney legal analyst at the Firm from December 2021

 to March 2024. Ms. Saydah has an undergraduate degree from New York University. She is

 currently pursuing her Juris Doctor at Cardozo School of Law.

     33.         Habiba Shah was a non-attorney legal analyst at the Firm from February 2019 to

 February 2020. Ms. Shah had an undergraduate degree in International Relations from Mount

 Holyoke College.

     34.         Emily Shlafmitz was a non-attorney legal analyst at the Firm from September 2018

 until June 2020. She began law school at Duke University School of Law in the fall of 2020.

     35.         Charlotte Sullivan is a non-attorney legal analyst. Ms. Sullivan started at the Firm

 in March 2024. She has an undergraduate degree from the University of Toronto.

     36.         Rita Wang was a non-attorney legal analyst at the Firm from June 2020 to May

 2021. Ms. Wang received her bachelor’s degree from Yale University in 2019.

     37.         Lanz Williams was an operations professional at the Firm from September 2023

 to July 2024.

     38.         Wendy Wu was a legal apprentice at the Firm after her 1L Year at Columbia Law

 in the summer of 2020.




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     39.        Samantha Zuniga-Levy was a non-attorney legal analyst at the Firm from

 September 2019 to May 2021. Ms. Zuniga-Levy is a graduate of Wesleyan University, and had

 worked as a legal research assistant at a law firm prior to starting at the Firm.

                                          Rubin’s Counsel

     40.        Rubin had a massive number of lawyers in this case, all of which were paid for by

 Rubin. A review of the docket sheet shows that there were at least 25 defense counsel. Rubin had

 13 timekeepers present to “defend” Rubin at his own deposition.

                            Time Spent Litigating the Motion to Dismiss

     41.        One-time Defendants Yifat Schnur, Stephanie Shon, and Blue Icarus, LLC moved

 to dismiss the allegations against them in this action beginning on February 12, 2018 (Dkt. Nos.

 59, 63 & 65). Plainitffs’ reply memoranda were filed on March 15, 2018 (Dkt. Nos. 84, 85 & 86).

 My colleagues at my direction reviewed the individual time entries of all staffers to estimate the

 hours performed related to Schnur’s motion for sanctions. Those estimates are listed by day in

 the attached Exhibit 7. The totals of those estimated hours, broken down by the timekeeper who

 performed them, are included in the table below.

          ESTIMATED HOURS LITIGATING MOTIONS TO DISMISS BY DISMISSED
                  DEFENDANTS SCHNUR, SHON, AND BLUE ICARUS, LLC
 STAFFER               TOTAL HOURS      RATE (USD)         TOTAL BILLED
                       ESTIMATED                           (USD)
 John Balestriere      6.4              1670               10,688.00
 Karen Bubelnik        3.0              385                1,155.00
 Nathan Gibbs          3.5              385                1,347.50
 Brian Grossman        19.8             450                8,910.00
 Jin Lee               9.5              385                3,657.50
 Jillian McNeil        24.5             650                15,925.00
 David Forrest         6.5              385                2,502.50
 Matthew Schmidt       17.1             1089               18,621.90
 TOTAL                                  $62,807.40




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                                                Exhibits

         42.    Attached to this declaration as Exhibit 1 is a true and correct copy of an exemplar

 engagement agreement, that all Plaintiffs signed with the same terms therein, dated August 17,

 2024.

         43.    Attached to this declaration as Exhibit 2 is a true and correct copy of the docket

 sheet in this action, as downloaded from ECF, dated August 13, 2024.

         44.    Attached to this declaration as Exhibit 3 is a true and correct copy of an excerpt of

 the transcript of the Deposition of Howard Rubin, which took place on October 25, 2018.

         45.    Attached to this declaration as Exhibit 4 is a true and correct copy of an excerpt of

 the transcript of the Deposition of Yifat Schnur, which took place on March 12, 2024 in the matter

 Schnur, et al. v. Balestriere, et al; New York Supreme Court Index No. 160095/2018.

        46.     Attached to this declaration as Exhibit 5 is a true and correct copy of an excerpt of

 the transcript from the trial in this action, which began with opening statements on March 21,

 2022.

        47.     Attached to this declaration as Exhibit 6 is a true and correct copy of invoices from

 matters the Firm worked on for the years 2018, 2019, 2021, 2022, 2023, and 2024.

        48.     Attached to this declaration as Exhibit 7 is an estimation of the Firm’s time spent

 litigating the Motions to Dismiss of Defendants’ Yifat Schnur, Stephanie Shon, and Blue Icarus,

 LLC.




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  Dated: New York, New York
         August 20, 2024




                                      By: ______________________________
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